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 8                                 UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                      Case No.: 1:10-cr-00287-AWI-4
12                   Plaintiff,                     ORDER RE REQUEST FOR COUNSEL
                                                    (Doc. 241)
13            v.

14   Jose Alcantar-Penalozo,

15                   Defendant.

16

17            The Court is in receipt of Defendant’s pro se request for counsel to assist Defendant in the
18   filing of a motion to reduce sentence pursuant to Title 18, United States Code, Section 3582(c)(2)
19   (“Section 3582 Motion”). Pursuant to Eastern District of California General Order 546, the

20   Federal Defender’s Office (“FDO”) is hereby appointed to represent Defendant in this matter.

21   Should the FDO determine it is not appropriate for the FDO to file a Section 3582 Motion on

22   behalf of Defendant, Defendant is entitled to file such a motion pro se. The Court will not

23   construe Defendant’s request for counsel as a Section 3582 Motion.

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25   IT IS SO ORDERED.

26   Dated:    February 10, 2016
                                                  SENIOR DISTRICT JUDGE
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